Case 2:21-cv-04405-RGK-MAR Document 99 Filed 05/02/22 Page 1 of 5 Page ID #:1658
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-04405-RGK-MARx                                                        Date: May 2, 2022
  Title:       Paul Snitko, et al. v. United States of America, et al.

  Present: The Honorable: MARGO A. ROCCONI, UNITED STATES MAGISTRATE JUDGE
                       Erica Bustos                                                   N/A
                       Deputy Clerk                                         Court Reporter / Recorder

             Attorneys Present for Plaintiffs:                         Attorneys Present for Defendants:
                          N/A                                                        N/A

  Proceedings:               (In Chambers) ORDER DENYING EX PARTE APPLICATION,
                             ECF 95.
          On April 21, 2022, Plaintiffs Paul Snitko, Jennifer Snitko, Tyler Gothier, Joseph Ruiz, Jeni
  Verdon-Pearsons, Michael Storc, and Travis May (collectively “Plaintiffs”) filed their Ex Parte
  Application for Order Setting a Schedule for Production of Documents and Discovery Motions
  (“Application”). ECF Docket No. (“Dkt.”) 95. Defendants include the United States of America,
  Tracy L. Wilkison (in her official capacity as Acting United States Attorney for the Central District
  of California), and Kristi Koons Johnson (in her official capacity as an Assistant Director of the
  Federal Bureau of Investigation) (collectively “Defendants” or the “government”). See id.
  Defendants oppose Plaintiffs’ Application. See Dkt 96. The matter has been fully briefed. See
  Dkt. 97.

           For the reasons set forth below, the Court DENIES in part and GRANTS in part
  Plaintiffs’ Application.

                                                       I.
                                                  BACKGROUND:

          Plaintiffs contends that relief is necessary to avoid prejudice to the Plaintiffs. See Dkt. 95
  at 19. Plaintiffs ask the Court to: (1) order the government to begin producing documents as soon
  as they are available and to set a firm deadline of May 6, 2022 for the government to finish
  production; 1 (2) order that the government specifically identify, in writing within seven (7) days, any
  categories of responsive documents that it intends to withhold from its upcoming production;
  (3) order the government to provide a complete privilege log no later than May 6, 2022; and
  (4) adopt an expedited briefing schedule for any subsequent motion to compel. Id. The
  government argues that Plaintiffs’ Application should be denied, and the Court should instead order
  the government to file a status report regarding the state of discovery production and responses by
  May 9, 2022. Dkt. 96 at 12.
  ///
  ///

  1To the extent that Plaintiffs’ Application could be construed as asking this Court to modify or amend Judge Klausner’s
  scheduling order, this Court lacks the authority to do so. See Local Rule 16-14.


  CV-90 (03/15)                                   Civil Minutes – General                                     Page 1 of 5
Case 2:21-cv-04405-RGK-MAR Document 99 Filed 05/02/22 Page 2 of 5 Page ID #:1659
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-04405-RGK-MARx                                                           Date: May 2, 2022
  Title:       Paul Snitko, et al. v. United States of America, et al.

           Plaintiffs’ document requests pertain primarily to the following requests for production
  (“RFPs”):
                    • RFP 6 sought all written directions provided to officers who
                        conducted the search.
                    • RFP 7 sought all internal policy documents applied to guide the
                        conduct of the officers who conducted the search.
                    • RFP 8 sought all written inventories produced during the search
                        of the boxes of class members.
                    • RFP 9 sought all video recordings showing the manner in which
                        government officials conducted the search of class members’
                        boxes.
                    • RFP 10 sought policy documents that will govern the subsequent
                        retention of documents and other records produced during the
                        search.
  Dkt. 95 at 11. The government confirmed its intent to produce documents in response to RFPs 6,
  7, 8, and 9. Id. at 18. However, the government stated that it would not produce documents
  responsive to RFP 10 and the parties are still negotiating the scope of production under this RFP.
  Id. at 16, 23 n.7.

          Plaintiffs served their first discovery request on the government on November 5, 2021. Id.
  at 11. After the government asked for an extension of time to accommodate the “FBI employees
  who must assemble the documents necessary for discovery,” Plaintiffs agreed to extend the
  government’s response date to January 7, 2022. Id. at 12. In its response, the government raised
  objections, but did not include a privilege log or any documents responsive Plaintiffs’ production
  requests. Id. Finally, on January 14, 2022, the government produced a full copy of the search and
  seizure warrants, as well as the underlying applications and affidavits. Id.

           In late January 2022 2, the Government provided Plaintiffs with the Court’s standard
  protective order and indicated that it would produce the outstanding documents in response to
  Plaintiffs’ RFPs as soon as the protective order was entered. Id. at 13. Plaintiffs disagreed with the
  language of the proposed protective order, which the government claims brought their ability
  prepare responsive documents “to a screeching halt.” Dkt. 96 at 6. However, it is not clear why the
  government could not have continued preparing those documents not covered by the protective
  order while the details of the protective order were being resolved. 3 The government also does not

  2The government asserts that it supplied Plaintiffs with the protective order on January 24, 2022, whereas Plaintiffs
  maintain that the government sent the proposed protective order three days. Dkts. 96 at 6; 95 at 13.

  3 Although the government explains that the FBI’s discovery unit cannot start reviewing documents for privilege or
  making redactions until a signed protective order is in place, it is unclear whether this would impact some or all of the
  requested documents and videos. See Dkt. 96-1 ¶¶ 13–21.


  CV-90 (03/15)                                    Civil Minutes – General                                        Page 2 of 5
Case 2:21-cv-04405-RGK-MAR Document 99 Filed 05/02/22 Page 3 of 5 Page ID #:1660
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-04405-RGK-MARx                                            Date: May 2, 2022
  Title:     Paul Snitko, et al. v. United States of America, et al.

  explain why it did not raise the issue of a protective order earlier when Plaintiffs first served their
  discovery requests. On March 30, 2022, the Court entered a protective order and on April 19, the
  government produced supplemental responses to interrogatories identifying approximately 400 class
  members and providing the inventory policy. Id.

          The government contends that it expects to “substantially complete” the production of
  written documents to Plaintiffs by May 6, 2022. Id. Still, the government has been reluctant to
  commit to firm dates of when certain documents will be produced. See Dkt. 95 at 16. Further, the
  government’s estimated production dates continue to shift. See id. Although the government
  maintains that it has no objection to a continuance of the dates in this case, Judge Klausner’s
  Standing Order makes clear that “[c]hanges in dates are disfavored” and that “[t]rial dates set by the
  Court are firm and will rarely be changed.” Dkts. 24 ¶ 12; 96 at 2.

          The bench trial is scheduled for July 26, 2022, and the parties’ opening briefs are due on
  June 21. Dkts. 83, 82. Plaintiffs plan to begin depositions on April 28, 2022. Dkt. 95 at 19. Most
  of Plaintiffs’ depositions are scheduled to take place between May 16 and May 27. Id. Plaintiffs are
  concerned that, absent an order from the Court, the government will not provide any documents to
  use in Plaintiffs’ depositions. Id. Given the government’s sluggish production thus far, Plaintiffs
  also fear that they will not have any of the requested documents in time to include in the opening
  brief. Id.

                                               II.
                                          RELEVANT LAW:

          Ex parte applications are “nearly always improper,” and “the opportunities for legitimate
  [ones] are extremely limited.” In re Intermagnetics Am., Inc., 101 B.R. 191, 192, 193 (C.D. Cal.
  1989). Filing an ex parte application is justified only when:
                  (1) there is a threat of immediate or irreparable injury; (2) there is
                  danger that notice to the other party may result in the destruction of
                  evidence or the party’s flight; or (3) the party seeks a routine procedural
                  order that cannot be obtained through a regularly noticed motion
                  (i.e., to file an overlong brief or shorten the time within which a motion
                  may be brought).
  Horne v. Wells Fargo Bank, N.A., 969 F. Supp. 2d 1203, 1205 (C.D. Cal. 2013) (citing
  Intermagnetics, 101 B.R. at 193).

           To obtain ex parte relief, the moving party must show: “(1) the moving party is without fault
  in creating the crisis that requires ex parte relief or the crisis occurred as a result of excusable
  neglect; and (2) the moving party’s cause will be irreparably prejudiced if the underlying motion is
  heard according to regular noticed motion procedures.” Altair Instruments, Inc. v. Telebrands
  Corp., No. CV 19-08967-PSG (JC), 2020 WL 6106821, at *2 (C.D. Cal. July 10, 2020) (citing


  CV-90 (03/15)                            Civil Minutes – General                              Page 3 of 5
Case 2:21-cv-04405-RGK-MAR Document 99 Filed 05/02/22 Page 4 of 5 Page ID #:1661
                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-04405-RGK-MARx                                              Date: May 2, 2022
  Title:     Paul Snitko, et al. v. United States of America, et al.

  Mission Power Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995). A party
  seeking the extraordinary remedy of ex parte relief must show “that it used the entire discovery
  period efficiently and could not have, with due diligence, sought to obtain the discovery earlier in the
  discovery period.” See Mission Power Eng’g Co., 883 F. Supp. at 493; see also Local Rule 37-3
  (“Unless the Court in its discretion otherwise allows, no discovery motions may be filed or heard on
  an ex parte basis absent a showing of irreparable injury or prejudice not attributable to the lack of
  diligence of the moving party.”).

                                                   III.
                                                ANALYSIS:

           First, Plaintiffs have met their burden of showing that they are “without fault in creating the
  crisis that requires ex parte relief[.]” See Mission Power Eng’g Co., 883 F. Supp. at 493. It appears
  to the Court that Plaintiffs have been diligent in attempting to obtain the requested documents in a
  timely fashion, and that any delays related to their production were not the fault of the Plaintiffs.
  Plaintiffs have consistently reminded the government of their need for the requested documents and
  sought to establish firm production deadlines throughout the entire discovery period. See Dkt. 95
  at 22. Although Defendants argue that Plaintiffs delayed discovery by litigating the specific language
  of the protective order, Defendants do not explain why they did not raise the issue of a protective
  order earlier in the discovery process. See Dkt. 96 at 6. Emails between the parties also do not
  indicate that Plaintiffs were aware the government would cease its preparation of documents for
  production during the time the protective order was being negotiated. See Dkt. 95-6. Accordingly,
  the Court finds that Plaintiffs are largely without fault for creating any delays in discovery.

          Second, Plaintiffs have not shown that they will suffer irreparable harm in the absence of ex
  parte relief. Plaintiffs seek an order requiring production of documents by May 6, 2022. Dkt. 95
  at 3. However, the government has advised that their production of written documents will be
  substantially completed by Plaintiffs’ proposed May 6 deadline. Dkt. 96 at 14. Still, the government
  has not provided a firm date of when it would produce the requested videos. Id. at 6. Nevertheless,
  because the government expects to have substantially completed their production of written
  documents by Plaintiffs’ requested deadline, the Court finds the current Application premature.

          Lastly, Plaintiffs have not shown that there is some “some genuine urgency that ‘immediate
  and irreparable injury . . . will result to the applicant before the adverse party or his attorney can be
  heard in opposition[.]’” White v. Baca, No. CV 13-3401-JFW (SSx), 2014 WL 12696910, at *1
  (C.D. Cal. Jan. 30, 2014) (quoting In re Intermagnetics, 101 B.R. at 193–94). “Merely showing that
  deadlines are fast approaching is not enough.” Id. Plaintiffs note that, if they were to file a motion
  to compel, the earliest they could be heard would be May 20, 2022, which is just one month away
  from their briefing deadline. Dkt. 97 at 5. Although the Court appreciates that Plaintiffs’ briefing
  deadline is rapidly approaching, the Court had previously indicated that it would be amenable to
  adopting an expedited briefing schedule should Plaintiffs wish to renew their motion to compel.


  CV-90 (03/15)                             Civil Minutes – General                               Page 4 of 5
Case 2:21-cv-04405-RGK-MAR Document 99 Filed 05/02/22 Page 5 of 5 Page ID #:1662
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES – GENERAL

  Case No. 2:21-cv-04405-RGK-MARx                                                        Date: May 2, 2022
  Title:       Paul Snitko, et al. v. United States of America, et al.

  Dkt. 90 at 8 n.3. Also, under Local Rule 6-1, the Court has authority to order a shorter hearing
  notice period. See Local Rule 6-1. Therefore, Plaintiffs have not demonstrated that there is a
  genuine urgency that warrants ex parte relief.

           Given the foregoing, the Court finds that ex parte relief is not warranted.

                                                      IV.
                                                  CONCLUSION:

           Therefore, the Court DENIES in part Plaintiffs’ Application as to the following:
  (1) Plaintiff’s request that the Court order the government to begin producing documents as soon as
  they are available and set a firm date of May 6, 2022, for the government to finish its production;
  (2) order the government to specifically identify, in writing within seven (7) days, any categories of
  responsive documents that it intends to withhold from its upcoming production; and (3) order the
  government to provide a complete privilege log no later than May 6, 2022.

          The Court GRANTS in part Plaintiffs’ Application with respect to Plaintiffs’ request that
  the Court adopt an expedited briefing schedule for any subsequent motion to compel. Therefore, to
  “secure the just, speedy, and inexpensive determination” of this action, Fed. R. Civ. P. 1, the Court
  will order a shortened notice time for motions to compel filed after May 9, 2022. 4

         The Court further ORDERS the government to file a status report regarding the state of
  discovery production and responses by May 9, 2022.

         In the meantime, the Court strongly encourages the parties to work to resolve these disputes
  without further involvement of the Court. The parties should also refer to Judge Klausner’s Order
  for Court Trial, which notes that “[w]henever possible, the Court expects the parties to resolve
  discovery problems among themselves[.]” Dkt. 82 at 2–3.




           IT IS SO ORDERED.


                                                                                                                  :
                                                                               Initials of Preparer              eb


  4To expedite the resolution of the motion to compel, Plaintiffs may bring an ex parte application to shorten time for
  hearing the motion. See Local Rule 6-1 (providing that the Court may order a shortened time for notice of a motion).


  CV-90 (03/15)                                   Civil Minutes – General                                     Page 5 of 5
